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 1 /s/Anthony T. Caso
 2 Anthony T. Caso (Cal. Bar #88561)
   CONSTITUTIONAL COUNSEL GROUP
 3 174 W Lincoln Ave # 620
   Anaheim, CA 92805-2901
 4
   Phone: 916-601-1916
 5 Fax: 916-307-5164
   Email: atcaso@ccg1776.com
 6
 7
     /s/ Charles Burnham
 8   Charles Burnham (D.C. Bar # 1003464)
     BURNHAM & GOROKHOV PLLC
 9   1424 K Street NW, Suite 500
     Washington, D.C. 20005
10   Email: charles@burnhamgorokhov.com
11   Telephone: (202) 386-6920

12 Counsel for Plaintiff
13
14                           UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
16

17
       JOHN C. EASTMAN                      Case No. 8:22-cv-00099-DOC-DFM
18
19                   Plaintiff,
20     vs.
21     BENNIE G. THOMPSON, et al.,
22
                     Defendants.
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 1                                     MOTION TO EXTEND DEADLINE
 2
                       Comes now the Plaintiff, Dr. John Eastman and moves to extend the October 28, 2022
 3
 4 deadline to produce privileged materials to the congressional defendants as set forth in this Court’s
 5 October 19 order with respect to certain materials. ECF 372. Plaintiff submits as follows:
 6     1. On October 19, 2022 this Court ordered Plaintiff to produce various materials from the in
 7          camera review to the congressional defendants by today’s date.
 8
       2. After considering this Court’s order, Plaintiff filed a Motion to Reconsider or in the Alternative
 9
            for a Stay Pending Appeal on October 27. ECF 373.
10
       3. In the event this Court is not inclined to grant a stay of the October 19 order, Plaintiff intends to
11
12          seek a stay of the order from the Ninth Circuit Court of Appeals pending review by that Court.

13     4. Plaintiff requests a brief extension of time to produce the materials specified in his October 27

14          motion to allow the Ninth Circuit time to consider Plaintiff’s request to stay this Court’s order.
15
            A continuance of one week should be sufficient to obtain an expedited ruling from the Ninth
16
            Circuit.
17
       5.   All materials not specified in Plaintiff’s Motion to Reconsider will be produced to the
18
19          congressional defendants today.

20     6. The congressional defendants oppose this request.

21                     For the foregoing reasons, Plaintiff respectfully requests a one week extension of time
22 to produce the materials specified in ECF 373.
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Case 8:22-cv-00099-DOC-DFM Document 375 Filed 10/28/22 Page 3 of 4 Page ID #:6026



 1 October 28, 2022                                            Respectfully submitted,
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 3
                                                       /s/Anthony T. Caso
 4
                                                       Anthony T. Caso (Cal. Bar #88561)
 5                                                     CONSTITUTIONAL COUNSEL GROUP
                                                       174 W Lincoln Ave # 620
 6                                                     Anaheim, CA 92805-2901
 7                                                     Phone: 916-601-1916
                                                       Fax: 916-307-5164
 8                                                     Email: atcaso@ccg1776.com

 9
10                                                     /s/ Charles Burnham
                                                       Charles Burnham (D.C. Bar # 1003464)
11                                                     BURNHAM & GOROKHOV PLLC
                                                       1424 K Street NW, Suite 500
12                                                     Washington, D.C. 20005
                                                       Email: charles@burnhamgorokhov.com
13
                                                       Telephone: (202) 386-6920
14
15
                                                       Counsel for Plaintiff
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                                      CERTIFICATE OF SERVICE
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28        I hereby certify that a copy of this filing has been served on opposing counsel by email.
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 1                                               By: /s/ Charles Burnham
                                                 Charles Burnham
 2
                                                 D. Md. Bar 12511
 3                                               Attorney for Defendant
                                                 BURNHAM & GOROKHOV, PLLC
 4                                               1424 K Street NW, Suite 500
                                                 Washington, DC 20005
 5                                               (202) 386-6920 (phone)
                                                 (202) 265-2173 (fax)
 6                                               Charles@burnhamgorokhov.com
 7

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